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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 JOEL LUCOFF                         )                 CIVIL ACTION NO. 0:20-cv-62125
                                     )
       Plaintiff,                    )
 vs.                                 )
                                     )
 AMERICAN HONDA FINANCE              )
 CORPORATION d/b/a ACURA             )
 FINANCIAL SERVICES                  )
                                     )
       Defendant.                    )
 ____________________________________)

                                 JOINT NOTICE OF SETTLEMENT

       Plaintiff, JOEL LUCOFF (“Plaintiff”) and Defendant, AMERICAN HONDA FINANCE

 CORPORATION d/b/a ACURA FINANCIAL SERVICES (“Defendant”) through undersigned

 counsel, jointly, after having met and conferred, submit this Joint Notice of Settlement pursuant to

 Local Rule 16.4 and advise the Court that the parties have reached a settlement in principle of this

 matter that will resolve the matter in its entirety. The parties respectfully request the Court to allow

 the parties 60 calendar days to complete the settlement agreement and to comply with its terms.

 By:

  /s/ Joel Lucoff                                     /s/ Gabrielle Gonzalez
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